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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
 AMERICAN OVERSIGHT,                     )
                                         )
                              Plaintiff, )
                                         )
                                         )
                                         )
 v.                                      )                Case No. 25-cv-383
                                         )
 U.S. DEPARTMENT OF JUSTICE,             )
                                         )
                             Defendant. )
                                         )

                        DECLARATION OF ELIZABETH HADDIX

       I, ELIZABETH HADDIX, hereby declare as follows:

       1.      I am Senior Counsel at American Oversight and counsel of record for American

Oversight in the above-captioned action. I make this declaration based on my personal knowledge

through consultation with my colleagues at American Oversight, and through a review of

American Oversight’s business records.

       2.      American Oversight is a non-partisan, nonprofit organization primarily engaged in

disseminating information to the public and committed to ensuring transparency in government

and promoting accountability for government officials. American Oversight’s primary

professional activity or occupation is information dissemination.

       3.      American Oversight analyzes the records it receives, creates explanatory and

editorial content on the basis of its findings and highlights its findings for other media to ensure

wide public dissemination. American Oversight also typically posts records it receives from public

records requests for free public viewing on its website. American Oversight disseminates the

information it receives to facilitate the American public’s informed participation in self-
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government, including equipping the public with information it needs to effectively petition its

representatives in Congress.

       4.      American Oversight intends to rapidly disseminate to the public the information it

receives in response to the FOIA request that is the subject of this litigation.

       5.      On January 8, 2025, American Oversight submitted a FOIA request bearing internal

tracking number DOJ-25-0036 to the U.S. Department of Justice (“DOJ”) seeking expedited

production of both volumes of then-Special Counsel Jack Smith’s two-volume report on his

investigations into President Trump’s potential interference with the lawful transfer of power

following the 2020 election (Volume One) and allegations of mishandling of a trove of classified

documents after Trump left office in 2021 (Volume Two). A true and correct copy of the request

is attached to the Complaint as Exhibit 1.

       6.      DOJ acknowledged receipt of the request on January 14, 2025, and assigned the

request DOJ tracking number FOIA-2025-01746. A true and correct copy of DOJ’s

acknowledgement email is attached to the Complaint as Exhibit 2.

       7.      After acknowledging receipt of American Oversight’s FOIA request and included

request for expedited processing, DOJ did not communicate further with American Oversight

about either request.

       8.      As of the date of this Declaration, American Oversight has not received any further

correspondence from DOJ, nor any other component of the Federal government, concerning its

FOIA request and included request for expedited processing.

       9.      As of the date of this Declaration, American Oversight has not received any records

or final determinations responsive to its FOIA request.




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        10.     American Oversight’s ability to obtain public records on a prompt basis is crucial

to its mission of ensuring transparency of government actions, promoting accountability of

government officials, and disseminating information about government activities to the public.

Prompt responses to public records requests and timely production of relevant documents are

crucial to American Oversight’s ability to fulfill its mission.

        11.     The records American Oversight requested from DOJ—specifically, Volume Two

of the Special Counsel’s report on his investigation of President Trump’s alleged mishandling of

classified documents after he left office in 2021 (hereinafter “Volume Two”) – concern matters of

tremendous national importance, about which there is an urgent need to inform the public.

American Oversight requested a copy of Volume Two to shed light not only on President Trump’s

actions and conduct, but that of Kash Patel, Trump’s nominee for Director of the Federal Bureau

of Investigation (“FBI”). American Oversight seeks a copy of Volume Two to ensure the public

has as much information as possible on a matter of great public importance—Patel’s expected

confirmation to lead the FBI—so members of the public and their representatives in Congress can

make informed decisions. Volume Two may also inform senators as they prepare for Patel’s

confirmation process. Accordingly, upon receipt of Volume Two, American Oversight will

promptly publicize it for consideration by the general public and the U.S. Senate.

        12.     American Oversight and the public will be irreparably harmed if Defendant does

not promptly comply with its statutory obligations to make determinations with regard to American

Oversight’s requests for Volume Two and to expedite processing and promptly produce non-

exempt portions of the requested records.

        13.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.




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Dated: February 10, 2025                  /s/ Elizabeth Haddix
                                          Elizabeth Haddix




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